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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 10-cr-80-02/05-SM

Anthony Scott, Ashley Scala,
Gary Patch and Maria Valdez

                                    ORDER

      Defendant Patch’s motion to continue the final pretrial conference and trial

is granted (document 27). Trial has been rescheduled for the October 2010

trial period. Defendant Patch shall file a waiver of speedy trial rights not later

than 7/30/2010.     On the filing of such waiver, his continuance shall be

effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference:      October 8, 2010 at 2:30 p.m.

      Jury Selection: October 19, 2010 at 9:30 a.m.
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      SO ORDERED.



                                    ____________________________
                                      Steven J. McAuliffe
                                      Chief Judge

July 22, 2010

cc:   Andrew Winters, Esq.
      Patrick Richard, Esq.
      Harry Starbranch, Jr., Esq.
      Raymond Buso, Esq.
       Mary Teczar, Esq.
      Jennifer Davis, AUSA
      US Probation
      US Marshal




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